     Case: 1:18-cv-01468 Document #: 12 Filed: 03/15/18 Page 1 of 1 PageID #:720

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Whitebox Advisors, LLC
                                 Plaintiff,
v.                                                  Case No.: 1:18−cv−01468
                                                    Honorable Robert W. Gettleman

                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 15, 2018:


      MINUTE entry before the Honorable Robert W. Gettleman: Motion [11] of Jeffrey
Chubak to appear pro hac vice is granted. Mailed notice (cn)




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